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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

MICHAEL DARREN COLLINS,                       )
                                              )
       Petitioner,                            )
                                              )     CIVIL ACTION NO.
v.                                            )     2:18-cv-875-WHA-CSC
                                              )            (WO)
MIKE HENLINE, et al.,                         )
                                              )
       Respondents.                           )

                                          ORDER

       On September 22, 2021, the Magistrate Judge filed a Recommendation (Doc. 16) to

which no timely objections have been filed. Upon an independent review of the record and

upon consideration of the Recommendation, it is ORDERED that

       (1) The Recommendation (Doc. 16) is ADOPTED; and

       (2) The 28 U.S.C. § 2254 petition for writ of habeas corpus is DISMISSED as moot,

as a favorable decision on the merits would entitle Petitioner to no additional relief.

       A separate final judgment will be entered.

       DONE this 13th day of October, 2021.

                             /s/ W. Harold Albritton
                            W. HAROLD ALBRITTON
                            SENIOR UNITED STATES DISTRICT JUDGE
